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 Attachment 1

                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA
       COURT CASE NUMBER: 21-CV-62182-RS; NOTICE OF FORFEITURE ACTION

       Pursuant to 18 U.S.C. § 981, the United States filed a verified Complaint for Forfeiture
 against the following property:

        APPROXIMATELY 919.30711258 ETHER COINS SEIZED FROM ETHEREUM
        WALLET ADDRESS 0x71949d87258c4ca6827730c337f80907d73c7800;
        (17-FBI-004167)

        APPROXIMATELY 2.65995166 BITCOINS FORMERLY HELD IN BITCOIN
        WALLET ADDRESS
        16qq4DGd2R9vcK5xmV5nRQmoZn2WZVSYK1; (17-FBI-004999)

        ALL VIRTUAL CURRENCY SEIZED ON OR ABOUT JUNE 16, AND 19, 2017, AND
        FORMERLY HELD IN BITCOIN WALLET ADDRESS
        12EZr5x8mFpxS6ypNobhPXmyj4BbRkm6GW, INCLUDING, BUT NOT LIMITED
        TO,
        APPROXIMATELY 640.26804512 BITCOINS; APPROXIMATELY 640.2716098
        BITCOIN CASH; APPROXIMATELY 640.2715428 BITCOIN GOLD; AND
        APPROXIMATELY 640.2716043 BITCOIN SV, (22-IRS-000007)

 Any person claiming a legal interest in the Defendant Property must file a verified Claim
 with the court within 60 days from the first day of publication (November 03, 2021) of this
 Notice on this official government internet web site and an Answer to the complaint or
 motion under Rule 12 of the Federal Rules of Civil Procedure within 21 days thereafter.
 18 U.S.C. § 983(h)(1) permits a court to impose a civil fine on anyone asserting an interest
 in property which the court determines was frivolous.

 The verified Claim and Answer must be filed with the Clerk of the Court, 400 North Miami
 Avenue, Room 8N09, Miami, FL 33128, and copies of each served upon Assistant United
 States Attorney Mitchell Hyman, 99 N.E. 4th Street, Miami, FL 33132, or default and
 forfeiture will be ordered. See, 18 U.S.C. § 983(a)(4)(A) and Rule G(5) of the
 Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions.

 The government may also consider granting petitions for remission or mitigation, which
 pardon all or part of the property from the forfeiture. A petition must include a description
 of your interest in the property supported by documentation; include any facts you believe
 justify the return of the property; and be signed under oath, subject to the penalty of
 perjury, or meet the requirements of an unsworn statement under penalty of perjury. See
 28 U.S.C. Section 1746. For the regulations pertaining to remission or mitigation of the
 forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of the forfeiture are
 found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the forfeiture are found at
 28 C.F.R. Section 9.5(b). The petition need not be made in any particular form and may
 be filed online or in writing. You should file a petition not later than 11:59 PM EST 30 days
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 after the date of final publication of this notice. See 28 C.F.R. Section 9.3(a). The
 https://www.forfeiture.gov/FilingPetition.htm website provides access to a standard petition
 form that may be mailed and the link to file a petition online. If you cannot find the desired
 assets online, you must file your petition in writing by sending it to Assistant United States
 Attorney Mitchell Hyman, 99 N.E. 4th Street, Miami, FL 33132. This website provides
 answers to frequently asked questions (FAQs) about filing a petition. You may file both a
 verified claim with the court and a petition for remission or mitigation.
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                                  Advertisement Certification Report


 The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
 between November 3, 2021 and December 02, 2021. Below is a summary report that identifies the
 uptime for each day within the publication period and reports the results of the web monitoring system’s
 daily check that verifies that the advertisement was available each day.

 U.S. v. 919.30711258 ETHER COINS SEIZED FROM ETHEREUM; et

 Court Case No:              21-CV-62182-RS
 For Asset ID(s):            See Attached Advertisement Copy

    Consecutive          Date Advertisement         Total Hours Web Site             Verification that
    Calendar Day          Appeared on the           was Available during              Advertisement
        Count                 Web Site                  Calendar Day                existed on Web Site
          1                   11/03/2021                      23.9                          Verified
          2                   11/04/2021                      23.9                          Verified
          3                   11/05/2021                      23.9                          Verified
          4                   11/06/2021                      23.9                          Verified
          5                   11/07/2021                      24.0                          Verified
          6                   11/08/2021                      23.9                          Verified
          7                   11/09/2021                      23.9                          Verified
          8                   11/10/2021                      23.8                          Verified
          9                   11/11/2021                      23.8                          Verified
         10                   11/12/2021                      23.9                          Verified
         11                   11/13/2021                      23.9                          Verified
         12                   11/14/2021                      23.8                          Verified
         13                   11/15/2021                      23.9                          Verified
         14                   11/16/2021                      23.9                          Verified
         15                   11/17/2021                      23.9                          Verified
         16                   11/18/2021                      23.9                          Verified
         17                   11/19/2021                      23.9                          Verified
         18                   11/20/2021                      23.9                          Verified
         19                   11/21/2021                      23.9                          Verified
         20                   11/22/2021                      23.9                          Verified
         21                   11/23/2021                      23.9                          Verified
         22                   11/24/2021                      23.9                          Verified
         23                   11/25/2021                      23.9                          Verified
         24                   11/26/2021                      23.6                          Verified
         25                   11/27/2021                      23.9                          Verified
         26                   11/28/2021                      23.9                          Verified
         27                   11/29/2021                      23.9                          Verified
         28                   11/30/2021                      23.9                          Verified
         29                   12/01/2021                      23.9                          Verified
         30                   12/02/2021                      23.9                          Verified
 Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
